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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OKLAHOMA

    1. JOSHUA D. LAMB;                          )
    2. MATTHEW C. LAY;                          )
    3. ERIC D. ACOSTA;                          )
    4. ZACHARY G. ALLPHIN;                      )
    5. NORITA M. BRIDGES;                       )
    6. CRAIG C. DEERINWATER;                    )
    7. TIM B. DOWNIE;                           )
    8. JEFFREY A. HARPER;                       )
    9. HEATHER D. PERKEY;                       )
    10. RONALD STEWART;                         )
    11. DARREN L. THAMES;                       )
    12. MICHAEL D. WARD;                        )
    13. NICHOLAS L. WILSON;                     )
                                                )
           Plaintiffs,                          )
                                                )          Civil Action No. _____________
    v.                                          )
                                                )          JURY TRIAL DEMANDED
    1. CITY OF TULSA, OKLAHOMA;                 )
    2. GEORGE THERON BYNUM, sued                )
       in his official capacity as Mayor of     )
       the City of Tulsa, Oklahoma; and         )
    3. JACK BLAIR, sued in his official         )
       capacity as Chief Operations Officer     )
       of the City of Tulsa, Oklahoma;          )
                                                )
           Defendants.                          )
                                                )
                                                )

                                             COMPLAINT

                                           INTRODUCTION

          Plaintiffs, by and through their counsel, respectfully submit their Complaint against the

   City of Tulsa, Oklahoma, and state as follows:

                                               PARTIES

          1.      Plaintiffs Joshua D. Lamb (who is the Secretary Treasurer of the labor organization

   representing the fire fighters of the City of Tulsa, International Association of Fire Fighters, AFL-
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   CIO, CLC, Local 176 (“IAFF Local 176”)), Matthew C. Lay (President of IAFF Local 176), Eric

   D. Acosta, Zachary G. Allphin, Norita M. Bridges, Craig C. Deerinwater, Tim B. Downie, Jeffrey

   A. Harper, Heather D. Perkey, Ronald Stewart, Darren L. Thames, Michael D. Ward, and Nicholas

   L. Wilson are current and former employees of the City of Tulsa, Oklahoma, (“Defendant” or

   “City”), who bring this action under the Fair Labor Standards Act (“FLSA”) against Defendants,

   on behalf of themselves and other similarly situated employees, because of Defendants’ unlawful

   deprivation of Plaintiffs’ rights to overtime compensation. Plaintiffs are similarly situated because

   they have been subject to the same policies and/or practices, described below, whereby the City

   willfully failed to fully and timely compensate Plaintiffs at the lawful overtime rate for all overtime

   work, as required by the FLSA.

          2.      Defendant City of Tulsa, Oklahoma, operates the Tulsa Fire Department, which is

   the department responsible for fire and emergency response for the City of Tulsa and its residents.

          3.      Defendant George Theron Bynum, sued in his official capacity as Mayor of the

   City of Tulsa, is a City official responsible for lawfully exercising the executive and administrative

   powers of the City, including, among other things, ensuring that the City does not unlawfully take

   the benefits of its hardworking public safety employees’ labor without providing full compensation

   for that labor consistent with federal law.

          4.      Defendant Jack Blair, sued in his official capacity as Chief Operating Officer of the

   City of Tulsa, is also a City official responsible for, among other things, ensuring that the City

   does not unlawfully take the benefits of its hardworking public safety employees’ labor without

   providing compensation for that labor consistent with federal law

          5.      At all times material herein, Defendants have employed the Plaintiffs in the

   positions of Firefighter, Lieutenant, and/or Captain in the Tulsa Fire Department. The exact dates



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   of the Plaintiffs’ employment are in the custody and control of the Defendants, and the Defendants

   know specifically what dates each of the Plaintiffs has worked in each position.

             6.    The Plaintiffs bring this action for backpay compensation, liquidated damages,

   attorneys’ fees and costs, and other relief available under the FLSA, as amended, 29 U.S.C. § 201,

   et seq.

             7.    The Plaintiffs who are identified in the caption of the Complaint have given their

   written consent to be party Plaintiffs in this action, pursuant to 29 U.S.C. § 216(b). Such written

   consents are appended to this Complaint as Exhibit A.

             8.    At all times material herein, all Plaintiffs have been “employees” within the

   meaning of the FLSA, 29 U.S.C. § 203(e)(1).

             9.    Defendant City of Tulsa is a municipal corporation under the laws of the State of

   Oklahoma, with the power to sue and be sued in its own name. Defendants Bynum and Blair are

   public officials of the City of Tulsa and sued in their official capacities as officials of the City of

   Tulsa. At all times material herein, Defendant City of Tulsa has been a “public agency” and

   “employer” within the meaning of the FLSA, 29 U.S.C. § 203(x), 203(d). Defendant has a principal

   office and place of business located within the United States District Court for the Northern District

   of Oklahoma, at the Tulsa City Hall, located at 175 E. 2nd Street, in Tulsa, Oklahoma 74103.

                                    JURISDICTION AND VENUE

             10.   This Court has subject matter jurisdiction over Plaintiffs’ FLSA action pursuant to

   28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

             11.   A substantial part of the events giving rise to Plaintiffs’ claims occurred in this

   District, as the unpaid wages sought in this action were earned in this District. Venue is proper in

   this District pursuant to 28 U.S.C. § 1391.



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                                                 FACTS

             12.   Plaintiffs have worked for Defendants in the positions of Firefighter, Lieutenant,

   and/or Captain at the Tulsa Fire Department from January 28, 2019, through the present, as well

   as before.

             13.   Defendants have adopted a 27-day “work period” for the City’s fire protection

   employees, pursuant to 29 U.S.C. § 207(k). As a result, the applicable overtime threshold for

   Plaintiffs is 204 hours in each 27-day work period. 29 C.F.R. § 553.230.

             14.   During the relevant time period, Plaintiffs have been assigned to work and did in

   fact work a regular, repeating schedule of 24-hour shifts—from 8 a.m. to 8 a.m. the following

   day—followed by 48 hours off. This shift schedule is referred to as a “24/48.”

             15.   In the Tulsa Fire Department, each fire suppression employee, including the

   Plaintiffs, is given one shift off duty for every 14 regularly scheduled shifts. The off-duty shift is

   referred to as an “Hours Reduction Shift” or “HRS.”

             16.   As a result of their 24/48 shift schedule and recurring HRS days, Plaintiffs are

   regularly scheduled to work an alternating pattern of 216 hours in one 27-day work period followed

   by 192 hours in the next 27-day work period; this schedule repeats. As such, Plaintiffs are regularly

   scheduled to and do in fact work beyond the 204-hour overtime threshold pursuant to 29 U.S.C.

   207(k).

             17.   While on shift, Plaintiffs perform their regular, primary job duty of performing

   emergency response work, including but not limited to responding to calls for emergency

   assistance, operating emergency apparatuses, advancing hose-line to burning buildings,

   extinguishing fires, and providing emergency medical assistance as needed.




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          18.     Plaintiffs are paid a fixed salary every two weeks on their biweekly payday to

   compensate them for their regularly scheduled hours. Prior to April 2021, Plaintiffs received either

   “OT FLSA .5” or “OT FLSA 1.5” pay for their regularly scheduled overtime work that exceeded

   the applicable FLSA threshold.

          19.     However, in or about April 2021, Defendants ceased paying Plaintiffs FLSA

   overtime for their regularly scheduled overtime work. As a result, Defendants have failed to pay

   Plaintiffs one and one-half times their regular rate of pay for their regularly scheduled overtime

   work, as required by the FLSA.

          20.     At all times material herein, Defendants have known and should have known that

   uncompensated overtime work was being performed by Plaintiffs. For example, Defendants track

   Plaintiffs’ regularly scheduled shifts, including overtime hours, and any additional overtime shifts

   that are picked up or worked by the Plaintiffs. Defendants also administer Plaintiffs’ biweekly

   paychecks and thus knows Plaintiffs have not received FLSA overtime payments for their regularly

   scheduled overtime work since at least April 2021.

          21.     In addition to their regularly scheduled shifts, Plaintiffs also frequently pick up

   overtime shifts when stations are short on staffing or overtime work is otherwise needed. To be

   paid for overtime shifts that are not part of their regular shift schedule, Defendants require

   Plaintiffs to submit a written overtime slip to their supervisors. The overtime request is then passed

   up to the Assistant Chief level and then transmitted to payroll, where it is supposed to be processed

   and paid.

          22.     Without explanation or justification, Defendants have frequently failed to issue

   payment in a timely manner after Plaintiffs submit their overtime slips for payment. At times

   material from January 28, 2019, and through the present and ongoing, Defendants have



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   unreasonably delayed such overtime payment for periods of weeks or months beyond Plaintiffs’

   regularly scheduled biweekly payday. For example, Plaintiff Lamb performed unscheduled

   overtime work beyond the applicable FLSA threshold on November 28, 2021, and December 11,

   2021, in the pay period ending December 11, 2021. Plaintiff Lamb timely submitted an overtime

   payment request pursuant to Department policy, but payment for such overtime work has been

   delayed unreasonably by more than 38 days.

          23.     The exact scheduled overtime hours worked by Plaintiffs and the exact workweeks

   in which Plaintiffs worked over the FLSA statutory maximum number of hours as part of their

   scheduled work hours can easily be determined by looking at the Plaintiffs’ timekeeping and

   payroll records, which are in the possession, custody, and control of Defendants.

          24.     Defendants’ actions in refusing to provide Plaintiffs the rights and protections

   provided under the FLSA are willful in that Defendants knew the City’s pay practices were

   prohibited by the FLSA or, at the very least, showed a reckless disregard for the FLSA. For

   example, Defendants knowingly accepted the benefit of Plaintiffs’ regularly scheduled and

   unscheduled overtime work from at least April 2021 without compensating Plaintiffs at the lawful

   overtime rate. Moreover, Defendants have failed to ensure that Plaintiffs are timely compensated

   for unscheduled overtime work for years, even after employees complain about the lack of timely

   payments.




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                                                COUNT I

     Violation of Sections 7(a), (k) of the Fair Labor Standards Act, 29 U.S.C. §§ 207(a), (k)

          25.     Plaintiffs re-allege, and incorporate by reference herein, Paragraphs 1 through 24

   of this Complaint.

          26.     Defendants have suffered or permitted Plaintiffs and other similarly situated

   employees to work in excess of the hourly standards set forth under 29 U.S.C. § 207(k). During

   the times that Plaintiffs have worked in excess of 204 hours in a 27-day work period, Defendants

   have failed to provide Plaintiffs with overtime pay at the rate of one and one-half times their regular

   rates of pay for all overtime hours.

          27.     By failing to pay the Plaintiffs and other employees similarly situated the overtime

   pay required under the law, the Defendants have violated and are continuing to violate the

   provisions of the FLSA in a manner that is unreasonable, willful, and in bad faith. As a result, at

   all times material herein, the Plaintiffs have been unlawfully deprived of overtime compensation

   and other relief for the maximum period allowed under the law.

          28.     As a result of the Defendants’ willful and bad faith violations of the FLSA, there

   have become due and owing to the Plaintiffs an amount that has not yet been precisely determined.

   The employment and work records for the Plaintiffs (including time and attendance records) are

   in the exclusive possession, custody, and control of the Defendants, and the Plaintiffs are unable

   to state at this time the exact amount owing to them. Defendants are under a duty imposed under

   the FLSA, 29 U.S.C. § 211(c), and various other statutory and regulatory provisions, to maintain

   and preserve payroll and other employment records with respect to the Plaintiffs and other

   employees similarly situated from which the amount of Defendants’ liability can be ascertained.




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          29.     Pursuant to 29 U.S.C. § 216(b), Plaintiffs are entitled to recover liquidated damages

   in an amount equal to their backpay for Defendants’ failure to pay overtime compensation.

          30.     Plaintiffs are entitled to recover attorneys’ fees and costs under 29 U.S.C. § 216(b).

                                               COUNT II

                  Failure to Pay FLSA Overtime in a Timely Manner by Paying
                       Weeks or Months After the Overtime was Worked

          31.     Plaintiffs re-allege, and incorporate by reference herein, Paragraphs 1 through 30

   of this Complaint.

          32.     The FLSA mandates that overtime compensation be paid on the regular payday for

   the period in which such workweek ends. Overtime payments under the FLSA may not be delayed

   except as reasonably necessary to compute the amount owned, and in no event shall such payments

   be delayed beyond the next payday after such computation can be made. 29 C.F.R. § 778.106.

   Defendants have violated these basic principles by delaying Plaintiffs’ overtime payments for

   working in excess of 204 hours a work period by weeks and in some cases months, with such delay

   not being reasonably necessary to compute Plaintiffs’ overtime pay, but rather because of a failure

   by management personnel to approve overtime payments or otherwise unreasonably fail to

   effectuate timely payment.

          33.     Defendants’ failure to pay Plaintiffs FLSA overtime pay in a timely manner and

   their withholding of such overtime payments violates section 7(a) of the FLSA. 29 U.S.C. §§

   207(a), (k); 29 C.F.R. § 778.106; see also Seneca Coal & Coke Co. v. Lofton, 136 F.2d 359, 363

   (10th Cir. 1943), cert. denied, 320 U.S. 772 (1943) (affirming award of liquidated damages for

   late payment of overtime because it was “not paid when due in the regular course of employment,”

   in violation of the FLSA).




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             34.   As a result of the Defendants’ willful and bad faith violations of the FLSA, there

   have become due and owing to the Plaintiffs an amount that has not yet been precisely determined.

   The employment and work records for the Plaintiffs (including time and attendance records) are

   in the exclusive possession, custody, and control of the Defendants, and the Plaintiffs are unable

   to state at this time the exact amount owing to them. Defendants are under a duty imposed under

   the FLSA, 29 U.S.C. § 211(c), and various other statutory and regulatory provisions, to maintain

   and preserve payroll and other employment records with respect to the Plaintiffs and other

   employees similarly situated from which the amount of Defendants’ liability can be ascertained.

             35.   Pursuant to 29 U.S.C. § 216(b), Plaintiffs are entitled to recover liquidated damages

   in an amount equal to their backpay for Defendants’ failure to pay overtime compensation.

             36.   Plaintiffs are entitled to recover attorneys’ fees and costs under 29 U.S.C. § 216(b).

                                   DEMAND FOR A JURY TRIAL

             Pursuant to Rule 38 of the Federal Rules of Civil Procedure and applicable law, all

   Plaintiffs hereby demand that their claims be tried before a jury.

                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully pray that this Court:

             (a)   Enter judgment finding that the Defendants have willfully and wrongfully violated

   its statutory obligations under federal and state law and deprived each of the Plaintiffs of his/her

   rights;

             (b)   Order a complete and accurate accounting of all the unpaid compensation to which

   the Plaintiffs are entitled;

             (c)   Award Plaintiffs compensatory relief in the form of unpaid compensation and

   liquidated damages equal to their unpaid compensation;



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          (d)     Award Plaintiffs interest on their unpaid compensation;

          (e)     Award Plaintiffs their reasonable attorneys’ fees to be paid by the Defendants, and

   the costs associated with bringing this action; and

          (f)     Grant such other relief as may be just and proper.



   DATE: January 28, 2022                        Respectfully submitted,

                                                 /s/ James P. Hunt
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                                                 /s/ Sara L. Faulman
                                                 Sara L. Faulman (pro hac vice to be submitted)
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